
The Court
not concurring in opinion with the Judge of the Superior court, that a general replication to a plea of payment constituted an issue, and left no room for further proceedings, unless thereafter the parties considered it as an issue, and submitted the case to a Jury; is of opinion, *900that the said Superior court should have permitted the appellant Beeson to prove that the similiter entered in the office, was entered without his authority, and against his consent; and should also, in that case, have corrected the proceedings in the office, by giving him a rule to rejoin, or take other measures in relation to the appellees’ replication. The judgment is therefore reversed with costs, and the cause is to be remanded to the rules of the said Superior court, to be proceeded in from the replication, pursuant to the principles now declared.
